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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                              ******
UNITED STATES OF AMERICA,                               )               CRIMINAL N0:05-40010
                                                        )
                       Plaintiff,                       )               MINUTES OF COURT
                                                        )
 vs.                                                    )               DATE: 6/28/06
JAMES NEAL EVANS,                                       )
                                                        )
Defendant(s).                                           )

PRESENT: HONORABLE J. PHIL GILBERT, DISTRICT JUDGE
DEPUTY CLERK: K. Jane Reynolds                          COURT REPORTER: N/A
COUNSEL FOR PLAINTIFF(S): N/A
COUNSEL FOR DEFENDANT(S): N/A
MINUTE ORDER IN CHAMBERS: (X )
PROCEEDINGS:
TIME:
 This matter is before the court for purposes of case management and calendar control.
 The Court being in a jury trial, hereby ORDERS this matter STRICKEN from the 6/29/06 docket.
 It is further ORDERED that this matter is reset for disposition on 7/11/2006 at 10:30 a.m. in Benton, IL.




                                                        NORBERT G. JAWORSKI, CLERK

                                                        By: s/ K. Jane Reynolds
                                                        Deputy Clerk
